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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-730V
                                          UNPUBLISHED


    TAMMY ROBINSON,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: February 10, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for petitioner.

Zoe Wade, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On May 17, 2019, Tammy Robinson filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (SIRVA) as a result of receiving an influenza (flu) vaccination on March 6,
2018. Petition at 1. Petitioner further alleges that she received the vaccine in the United
States, and no lawsuits have been filed or settlements or awards accepted by anyone,
including the petitioner, due to her vaccine-related injury. Petition at 1-2. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

     On June 25, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On February 10, 2021, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $50,144.04. Proffer at

1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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1. In the Proffer, Respondent represented that Petitioner agrees with the proffered award.
Id. Based on the record as a whole, I find that Petitioner is entitled to an award as stated
in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $50,144.04 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
___________________________________
                                    )
TAMMY ROBINSON,                     )
                                    )
            Petitioner,             )
                                    )   No. 19-730V
      v.                            )   Chief Special Master Corcoran
                                    )   ECF
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
____________________________________)

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Items of Compensation

          On June 24, 2020, respondent conceded that entitlement to compensation was appropriate

under the terms of the Vaccine Act in this case. ECF No. 31. Thereafter, on June 25, 2020,

Chief Special Master Corcoran issued a Ruling on Entitlement, finding that petitioner was

entitled to vaccine compensation for her Shoulder Injury Related to Vaccine Administration

(“SIRVA”). ECF No. 32. Based upon the evidence of record, respondent proffers that petitioner

should be awarded $50,144.04. The award is comprised of the following: $50,000.00 for pain

and suffering and $144.04 for unreimbursed expenses. This amount represents all elements of

compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner

agrees.

 II.       Form of the Award

          The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $50,144.04, in the form of a check payable to petitioner. Petitioner

agrees.
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      Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                   Respectfully submitted,

                                                   BRIAN M. BOYNTON
                                                   Acting Assistant Attorney General

                                                   C. SALVATORE D’ALESSIO
                                                   Acting Director
                                                   Torts Branch, Civil Division

                                                   HEATHER L. PEARLMAN
                                                   Acting Deputy Director
                                                   Torts Branch, Civil Division

                                                   DARRYL R. WISHARD
                                                   Assistant Director
                                                   Torts Branch, Civil Division

                                                   /s/ Zoë R. Wade
                                                   Zoë R. Wade
                                                   Trial Attorney
                                                   Torts Branch, Civil Division
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Dated: February 10, 2021
